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Michael R. Seidl, OSB No. 83319
mick@Seidl-law.com
SEIDL LAW OFFICE, PC
806 SW Broadway, Suite 400
Portland, Oregon 97205
TELEPHONE: (503) 224-7840
FAX: (503) 224-7845
Attorneys for Defendant Travelers

IN THE UNITED STAIES DISTRICT COURT
FOR THE DISTRICT OF OREGON

HOFFMAN CONSTRUCTION COMPANY Case No: 6:05-CV-456-AA

OF OREGON, a domestic corporation,
Plaintiff,
DEFENDANT TRAVELERS’ MOTION
vs. FOR SUMMARY JUDGMENT

TRAVELERS INDEMNITY INSURANCE Pursuant to FRCP 56

COMPANY, a foreign corporation; REQUEST FOR ORAL ARGUMENT
ADVANCED TECHNOLOGY GROUP, a Q

domestic corporation,
Defendants.

Defendant Travelers Indemnity Insurance Company certifies that it has conferred by
telephone with John Ostrander, and the parties made a good faith effort to resolve this matter but
were unable to do so.

Pursuant to FRCP 56, Defendant Travelers Indemnity Insurance Company (“Travelers”)
hereby moves the court for an order granting it summary judgment on the basis that there is no
genuine issue of any material fact and T1avelers is entitled as a matter of law to a judgment in its

favor.

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in support of this motion, I1avelers will rely upon the attached Concise Statement of
Material Undisputed Facts, Memorandum of Points and Authorities and Affidavit of Michael R.
Seidl,

DATED this 29" day of August, 2005.

Wichatl $Seh-OSB No. 83319

Attorney for Travelers

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CERTIFICATE OF SERVICE
I HEREBY CERTIFY that on this 29" day of August, 2005, I caused to be served true

copies of the foregoing MOTION FOR SUMMARY JUDGMENT by the method indicated

below, and addressed to each of the following:

io ney at Law ] U.S. Mail, Postage Prepaid
Elliott, Ostrander & Preston, PC Bn velivered 4 Ovemight Mail
707 SW Washington Street, Suite 1500 PY

Portland OR 97205

Scott Zerlaut

Attorney at Law U.S. Mail, Postage Prepaid
Shorall McGoldrick Brinkmann LI Hand Delivered 4) Overnight Mail
3030 North Central Ave., Ste. 1000 Telecopy

Phoenix AZ 85012

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OSB No. 83319

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